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B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                                                       Northern District of Mississippi
  In re          Shanteze Kinkle,                                                                                Case No.      14-12590
                 Bridgette Kinkle
                                                                                                          ,
                                                                                        Debtors                  Chapter                     13




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED             NO. OF          ASSETS                 LIABILITIES               OTHER
                                                         (YES/NO)            SHEETS

A - Real Property                                              Yes             1                          0.00


B - Personal Property                                          Yes             3                   42,760.00


C - Property Claimed as Exempt                                 Yes             1


D - Creditors Holding Secured Claims                           Yes             1                                            16,557.00


E - Creditors Holding Unsecured                                Yes             1                                                 0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes             12                                          348,628.69
    Nonpriority Claims

G - Executory Contracts and                                    Yes             1
   Unexpired Leases

H - Codebtors                                                  Yes             1


I - Current Income of Individual                               Yes             2                                                                      3,786.78
    Debtor(s)

J - Current Expenditures of Individual                         Yes             2                                                                      3,522.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                     25


                                                                         Total Assets              42,760.00


                                                                                           Total Liabilities               365,185.69




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B 6 Summary (Official Form 6 - Summary) (12/13)


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                                                               United States Bankruptcy Court
                                                                       Northern District of Mississippi
  In re           Shanteze Kinkle,                                                                                    Case No.   14-12590
                  Bridgette Kinkle
                                                                                                           ,
                                                                                        Debtors                       Chapter                 13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                   Amount

              Domestic Support Obligations (from Schedule E)                                                       0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                   0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                   0.00

              Student Loan Obligations (from Schedule F)                                                   19,598.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                   0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                   0.00

                                                                               TOTAL                       19,598.00


              State the following:

              Average Income (from Schedule I, Line 12)                                                        3,786.78

              Average Expenses (from Schedule J, Line 22)                                                      3,522.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                         4,724.59


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                       6,297.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                   0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                            0.00

              4. Total from Schedule F                                                                                               348,628.69

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                           354,925.69




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  In re         Shanteze Kinkle,                                                                             Case No.     14-12590
                Bridgette Kinkle
                                                                                                    ,
                                                                                      Debtors
                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                    Husband,    Current Value of
                                                                            Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                        Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                   Community Deducting  any Secured
                                                                                                               Claim or Exemption




                       None




                                                                                                    Sub-Total >               0.00          (Total of this page)

                                                                                                         Total >              0.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                    (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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  In re         Shanteze Kinkle,                                                                                   Case No.       14-12590
                Bridgette Kinkle
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

1.    Cash on hand                                        X

2.    Checking, savings or other financial                    Checking account with Renasant Bank                             J                              0.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                      Checking account with Bankcorp South Bank                       J                              0.00
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Household Furnishings including kitchen with                    J                        2,200.00
      including audio, video, and                             small appliances, Dining Room set, Living Room
      computer equipment.                                     set, Bedroom sets, Televisions, DVD Player and
                                                              computer

5.    Books, pictures and other art                       X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Clothing necessary for everyday work and play                   J                           300.00

7.    Furs and jewelry.                                   X

8.    Firearms and sports, photographic,                  X
      and other hobby equipment.

9.    Interests in insurance policies.                    X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.




                                                                                                                              Sub-Total >            2,500.00
                                                                                                                  (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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  In re         Shanteze Kinkle,                                                                                   Case No.       14-12590
                Bridgette Kinkle
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor                     Federal Income Tax Refund                                       J                      10,000.00
    including tax refunds. Give particulars.
                                                              State Incomr Tax Refund                                         J                      10,000.00

                                                              Earned Income Tax Credit                                        J                      10,000.00

19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                              Sub-Total >          30,000.00
                                                                                                                  (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re         Shanteze Kinkle,                                                                                   Case No.        14-12590
                Bridgette Kinkle
                                                                                                       ,
                                                                                      Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                             (Continuation Sheet)

                                                          N                                                               Husband,        Current Value of
                Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                Joint, or   without Deducting any
                                                          E                                                              Community Secured Claim or Exemption

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2011 Suzuki Kizashi                                              J                     10,260.00
    other vehicles and accessories.

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                   X
    not already listed. Itemize.


                                                                                                                              Sub-Total >          10,260.00
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                                                                                                                                   Total >         42,760.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                          (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/13)


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   In re         Shanteze Kinkle,                                                                                     Case No.           14-12590
                 Bridgette Kinkle
                                                                                                          ,
                                                                                       Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                 $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                      with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                               Specify Law Providing                         Value of                 Current Value of
                   Description of Property                                        Each Exemption                             Claimed                  Property Without
                                                                                                                            Exemption               Deducting Exemption
Household Goods and Furnishings
Household Furnishings including kitchen with                             Miss. Code Ann. § 85-3-1(a)                                2,200.00                         2,200.00
small appliances, Dining Room set, Living
Room set, Bedroom sets, Televisions, DVD
Player and computer

Wearing Apparel
Clothing necessary for everyday work and play                            Miss. Code Ann. § 85-3-1(a)                                  300.00                           300.00

Other Liquidated Debts Owing Debtor Including Tax Refund
Federal Income Tax Refund                        Miss. Code Ann. § 85-3-1(j)                                                      10,000.00                        10,000.00

State Incomr Tax Refund                                                  Miss. Code Ann. § 85-3-1(k)                              10,000.00                        10,000.00

Earned Income Tax Credit                                                 Miss. Code Ann. § 85-3-1(i)                              10,000.00                        10,000.00




                                                                                                          Total:                  32,500.00                        32,500.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re         Shanteze Kinkle,                                                                                               Case No.     14-12590
                 Bridgette Kinkle
                                                                                                                   ,
                                                                                                  Debtors
                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                              O    N   I
                                                             D   H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT         UNSECURED
            INCLUDING ZIP CODE,                              B   W           NATURE OF LIEN, AND                            I    Q   U                       PORTION, IF
                                                             T   J         DESCRIPTION AND VALUE                            N    U   T
                                                                                                                                            DEDUCTING
           AND ACCOUNT NUMBER                                O                                                              G    I   E       VALUE OF           ANY
             (See instructions above.)
                                                                 C                OF PROPERTY
                                                             R
                                                                               SUBJECT TO LIEN
                                                                                                                            E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. xxxxxxxx3680                                             Opened 6/13/11 Last Active 7/01/14                          E
                                                                                                                                 D

Asfs                                                                 Automobile
200 Renaissance Ctr
Detroit, MI 48243                                                    2011 Suzuki Kizashi
                                                                 J

                                                                        Value $                             10,260.00                         16,557.00              6,297.00
Account No.




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
                                                                                                                         Subtotal
 0
_____ continuation sheets attached                                                                                                            16,557.00              6,297.00
                                                                                                                (Total of this page)
                                                                                                                          Total               16,557.00              6,297.00
                                                                                                (Report on Summary of Schedules)

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  In re         Shanteze Kinkle,                                                                                                   Case No.            14-12590
                Bridgette Kinkle
                                                                                                                      ,
                                                                                                Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             0         continuation sheets attached
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   In re         Shanteze Kinkle,                                                                                        Case No.         14-12590
                 Bridgette Kinkle
                                                                                                                 ,
                                                                                               Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xxxxxxxxxxxx2497                                                    Opened 2/24/04 Last Active 10/01/13                         T   T
                                                                                                                                                E
                                                                                Credit Card                                                     D

1st Financial Bk Usa
363 W Anchor Dr                                                             H
Dakota Dunes, SD 57049

                                                                                                                                                                       1,473.00
Account No. xxxxxxxx2403                                                        Opened 12/01/12 Last Active 7/01/13

1stfrankln
301 Heritage Drive                                                          H
Oxford, MS 38655

                                                                                                                                                                       1,925.00
Account No. xxxxxxx0004                                                         Opened 6/01/14 Last Active 6/01/14

1stheritag
8985 Highway 51 N                                                           W
Southaven, MS 38671

                                                                                                                                                                       3,255.00
Account No. -xxxxxx1494                                                         Opened 8/15/08 Last Active 5/01/14
                                                                                Employment
Acs/Bank Of America
501 Bleecker St                                                             H
Utica, NY 13501

                                                                                                                                                                     12,500.00

                                                                                                                                        Subtotal
 11 continuation sheets attached
_____                                                                                                                                                                19,153.00
                                                                                                                              (Total of this page)




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   In re         Shanteze Kinkle,                                                                                    Case No.     14-12590
                 Bridgette Kinkle
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. -xxxxxx1493                                                         Opened 8/10/07 Last Active 5/01/14                      E
                                                                                Employment                                              D

Acs/Bank Of America
501 Bleecker St                                                             H
Utica, NY 13501

                                                                                                                                                            9,674.00
Account No. -xxxxxx1492                                                         Opened 7/24/06 Last Active 5/15/14
                                                                                Employment
Acs/Loan Science
501 Bleecker St                                                             J
Utica, NY 13501

                                                                                                                                                            8,156.00
Account No. -xxxxxx1491                                                         Opened 6/08/06 Last Active 5/15/14
                                                                                Employment
Acs/Loan Science
501 Bleecker St                                                             J
Utica, NY 13501

                                                                                                                                                            2,741.00
Account No. xxxxxx5957                                                          Opened 8/10/07
                                                                                Employment
Acs/Mheac
501 Bleecker St                                                             W
Utica, NY 13501

                                                                                                                                                            5,524.00
Account No. xxxxxx5955                                                          Opened 7/13/05
                                                                                Student Loan
Acs/Mheac
C/O Acs 501 Bleeker Street                                                  W
Utica, NY 13501

                                                                                                                                                            4,020.00

           1
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          30,115.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Shanteze Kinkle,                                                                                    Case No.     14-12590
                 Bridgette Kinkle
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxx5958                                                          Opened 8/11/06                                          E
                                                                                Employment                                              D

Acs/Mheac
501 Bleecker St                                                             W
Utica, NY 13501

                                                                                                                                                            3,515.00
Account No. -xxxxxx5954                                                         Opened 7/13/05 Last Active 11/01/12
                                                                                Employment
Acs/Nelnet
501 Bleecker St                                                             W
Utica, NY 13501

                                                                                                                                                          13,061.00
Account No. -xxxxxx5952                                                         Opened 5/21/07 Last Active 8/01/13
                                                                                Employment
Acs/Ubs Rl Est Sec
501 Bleecker St                                                             J
Utica, NY 13501

                                                                                                                                                            6,384.00
Account No. -xxxxxx5951                                                         Opened 8/11/06 Last Active 8/01/13
                                                                                Employment
Acs/Ubs Rl Est Sec
501 Bleecker St                                                             W
Utica, NY 13501

                                                                                                                                                            6,262.00
Account No. -xxxxxx5953                                                         Opened 1/29/07 Last Active 8/01/13
                                                                                Employment
Acs/Ubs Rl Est Sec
501 Bleecker St                                                             W
Utica, NY 13501

                                                                                                                                                            1,288.00

           2
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          30,510.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Shanteze Kinkle,                                                                                    Case No.     14-12590
                 Bridgette Kinkle
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxxx0001                                                   Opened 1/12/06 Last Active 6/01/14                      E
                                                                                Employment                                              D

Aes/Key Bank Usa Na
Po Box 61047                                                                H
Harrisburg, PA 17106

                                                                                                                                                            2,100.00
Account No. xxxx-xxxx-xxxx-7393                                                 Credit Purchases

BillMeLater
P.O. Box 2394                                                               J
Omaha, NE 68103

                                                                                                                                                              981.36
Account No. xxxxxxxxxxxx2742                                                    Opened 11/24/04 Last Active 8/08/12
                                                                                Credit Card
Bk Of Amer
Po Box 982235                                                               H
El Paso, TX 79998

                                                                                                                                                            2,188.00
Account No. xxxxxxxx1973                                                        Opened 2/27/13 Last Active 9/01/12
                                                                                Collection Attorney Ge Money Retail Bank
Cach, Llc
4340 S Monaco St Unit 2                                                     H
Denver, CO 80237

                                                                                                                                                            2,495.00
Account No. xxxxxxxxxxxx0878                                                    Opened 8/12/05 Last Active 6/01/14
                                                                                Credit Card
Cap One
Po Box 85520                                                                W
Richmond, VA 23285

                                                                                                                                                            3,189.00

           3
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          10,953.36
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Shanteze Kinkle,                                                                                    Case No.     14-12590
                 Bridgette Kinkle
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxx8084                                                    Opened 11/09/13 Last Active 7/01/14                     E
                                                                                Credit Card                                             D

Cap One
Po Box 85520                                                                H
Richmond, VA 23285

                                                                                                                                                              559.00
Account No. xxxxxxxxxxxx2966                                                    Opened 12/16/13 Last Active 6/13/14
                                                                                Credit Card
Credit One Bank Na
Po Box 98875                                                                W
Las Vegas, NV 89193

                                                                                                                                                              593.00
Account No.                                                                     Payday Loan

Discount Cash Advance
1020 Goodman Road, Suite 3N                                                 J
Horn Lake, MS 38637

                                                                                                                                                           Unknown
Account No. xxxxx5181                                                           Credit Card

GE Money Bank
P.O. Box 960061                                                             J
Orlando, FL 32896-0061

                                                                                                                                                            3,198.67
Account No. xxxx0758                                                            Tuition

Grand Canyon University
3300 West Camel Back Road                                                   J
Phoenix, AZ 85017

                                                                                                                                                              658.00

           4
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            5,008.67
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Shanteze Kinkle,                                                                                    Case No.     14-12590
                 Bridgette Kinkle
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
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                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxx9410                                                            Collections for Dillards                                E
                                                                                                                                        D

Leading Edge Recovery Solutions
P.O. Box 129                                                                J
Linden, MI 48451-0129

                                                                                                                                                              779.41
Account No. xxxxxxxxxxxxx0007                                                   Opened 8/25/06 Last Active 6/01/14
                                                                                Employment
Mohela
633 Spirit Dr                                                               H
Chesterfield, MO 63005

                                                                                                                                                            3,500.00
Account No. xxxxxxxxxxxxx0001                                                   Opened 9/21/04 Last Active 6/01/14
                                                                                Employment
Mohela
633 Spirit Dr                                                               H
Chesterfield, MO 63005

                                                                                                                                                            2,625.00
Account No. xxxxxxxxxxxxx0003                                                   Opened 8/29/05 Last Active 6/01/14
                                                                                Employment
Mohela
633 Spirit Dr                                                               H
Chesterfield, MO 63005

                                                                                                                                                            2,000.00
Account No. xxxxxxxxxxxxx0005                                                   Opened 1/06/06 Last Active 6/01/14
                                                                                Employment
Mohela
633 Spirit Dr                                                               H
Chesterfield, MO 63005

                                                                                                                                                            2,000.00

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Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          10,904.41
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Shanteze Kinkle,                                                                                    Case No.     14-12590
                 Bridgette Kinkle
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
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                 INCLUDING ZIP CODE,
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                  (See instructions above.)                             R                                                           E   D   D
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Account No. xxxxxxxxxxxxx0008                                                   Opened 8/25/06 Last Active 6/01/14                      E
                                                                                Employment                                              D

Mohela
633 Spirit Dr                                                               H
Chesterfield, MO 63005

                                                                                                                                                            1,490.00
Account No. xxxxxxxxxxxxx0002                                                   Opened 8/29/05 Last Active 6/01/14
                                                                                Employment
Mohela
633 Spirit Dr                                                               H
Chesterfield, MO 63005

                                                                                                                                                            1,313.00
Account No. xxxxxxxxxxxxx0004                                                   Opened 1/06/06 Last Active 6/01/14
                                                                                Employment
Mohela
633 Spirit Dr                                                               H
Chesterfield, MO 63005

                                                                                                                                                            1,312.00
Account No. xxxxxxxxxxxxx0006                                                   Opened 6/08/06 Last Active 6/01/14
                                                                                Employment
Mohela
633 Spirit Dr                                                               H
Chesterfield, MO 63005

                                                                                                                                                              875.00
Account No. xxxxxxxxxxxxx0009                                                   Opened 5/21/07 Last Active 6/01/14
                                                                                Employment
Mohela
633 Spirit Dr                                                               H
Chesterfield, MO 63005

                                                                                                                                                              510.00

           6
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            5,500.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Shanteze Kinkle,                                                                                    Case No.     14-12590
                 Bridgette Kinkle
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxx2580                                                          Opened 10/01/13 Last Active 7/01/14                     E
                                                                                Personal Loan                                           D

Repub Fin
576 East Goodman Rd                                                         W
Southaven, MS 38671

                                                                                                                                                            1,707.13
Account No. xxxxxxxxxxxx7449                                                    Opened 7/28/05 Last Active 10/18/05
                                                                                Employment
Sallie Mae
Po Box 9655                                                                 J
Wilkes Barre, PA 18773

                                                                                                                                                          32,259.00
Account No. xxxxxxxxxxxxxxxxxxx0722                                             Opened 7/22/09 Last Active 6/01/14
                                                                                Employment
Sallie Mae
11100 Usa Pkwy                                                              W
Fishers, IN 46037

                                                                                                                                                            9,226.00
Account No. xxxxxxxxxxxxxxxxxxx0722                                             Opened 7/22/09 Last Active 6/01/14
                                                                                Employment
Sallie Mae
11100 Usa Pkwy                                                              W
Fishers, IN 46037

                                                                                                                                                            8,500.00
Account No. xxxxxxxxxxxx7037                                                    Opened 8/11/06 Last Active 6/01/14
                                                                                Employment
Sallie Mae
Po Box 9655                                                                 J
Wilkes Barre, PA 18773

                                                                                                                                                            7,140.00

           7
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          58,832.13
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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   In re         Shanteze Kinkle,                                                                                    Case No.     14-12590
                 Bridgette Kinkle
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxx5924                                                    Opened 8/15/07 Last Active 6/01/14                      E
                                                                                Employment                                              D

Sallie Mae
Po Box 9655                                                                 W
Wilkes Barre, PA 18773

                                                                                                                                                            4,844.00
Account No. xxxxxxxxxxxx5932                                                    Opened 1/07/08 Last Active 6/01/14
                                                                                Employment
Sallie Mae
Po Box 9655                                                                 W
Wilkes Barre, PA 18773

                                                                                                                                                            2,679.00
Account No. xxxxxxxxxxxx5940                                                    Opened 6/19/06 Last Active 6/01/14
                                                                                Employment
Sallie Mae
Po Box 9655                                                                 J
Wilkes Barre, PA 18773

                                                                                                                                                            2,484.00
Account No. xxxxxxxxxxxx5916                                                    Opened 5/24/07 Last Active 6/01/14
                                                                                Employment
Sallie Mae
Po Box 9655                                                                 W
Wilkes Barre, PA 18773

                                                                                                                                                            2,473.00
Account No. xxxxxxxxxxxx8041                                                    Opened 5/24/07 Last Active 7/01/14
                                                                                Employment
Sallie Mae
Po Box 9655                                                                 J
Wilkes Barre, PA 18773

                                                                                                                                                            2,383.00

           8
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                          14,863.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Shanteze Kinkle,                                                                                    Case No.     14-12590
                 Bridgette Kinkle
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                        E
                                                                            W
                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
                                                                                                                                    N   A
                                                                                                                                    T   T
Account No. xxxxxxxxxxxx5957                                                    Opened 6/04/07 Last Active 6/01/14                      E
                                                                                Employment                                              D

Sallie Mae
Po Box 9655                                                                 J
Wilkes Barre, PA 18773

                                                                                                                                                            1,887.00
Account No. xxxxxxxxxxxx7029                                                    Opened 6/15/06 Last Active 6/01/14
                                                                                Employment
Sallie Mae
Po Box 9655                                                                 J
Wilkes Barre, PA 18773

                                                                                                                                                            1,835.00
Account No. 3282                                                                Medical

St. Francis Center for Surgical WL
PO Box 741365                                                               J
Atlanta, GA 30374-1365

                                                                                                                                                              366.12
Account No. xxxxxxxxxxxx1775                                                    Opened 3/06/08 Last Active 2/25/11
                                                                                Charge Account
Syncb/Belk
Po Box 965028                                                               H
Orlando, FL 32896

                                                                                                                                                                  0.00
Account No. xxxxxxxxxxxx7970                                                    Opened 5/17/07 Last Active 9/01/12
                                                                                Charge Account
Syncb/Care Credit
Po Box 965036                                                               H
Orlando, FL 32896

                                                                                                                                                                  0.00

           9
Sheet no. _____     11 sheets attached to Schedule of
                of _____                                                                                                          Subtotal
                                                                                                                                                            4,088.12
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Shanteze Kinkle,                                                                                    Case No.     14-12590
                 Bridgette Kinkle
                                                                                                                 ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                     O                                                           O   N   I
                   MAILING ADDRESS                                      D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                        B                                                           I   Q   U
                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                             R                                                           E   D   D
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Account No. xxxxxxxxxxxx9482                                                    Opened 10/14/07 Last Active 9/01/12                     E
                                                                                Charge Account                                          D

Syncb/Dillards
Po Box 965024                                                               H
Orlando, FL 32896

                                                                                                                                                              779.00
Account No. xxxxxxxxxxx5950                                                     Opened 12/01/08 Last Active 7/01/14
                                                                                Educational
Univ Of Ms
Lyceum Building                                                             W
University, MS 38677

                                                                                                                                                            8,383.00
Account No. xxxxxxxxxxx1490                                                     Opened 5/01/09 Last Active 7/01/14
                                                                                Educational
Univ Of Ms
Lyceum Building                                                             H
University, MS 38677

                                                                                                                                                            4,000.00
Account No. xxxxxxxxxxx5950                                                     Opened 12/01/08 Last Active 7/01/14
                                                                                Educational
Univ Of Ms
Lyceum Building                                                             W
University, MS 38677

                                                                                                                                                            3,908.00
Account No. xxxxxxxxxxx1490                                                     Opened 5/01/09 Last Active 7/01/14
                                                                                Educational
Univ Of Ms
Lyceum Building                                                             H
University, MS 38677

                                                                                                                                                            3,307.00

           10 of _____
Sheet no. _____    11 sheets attached to Schedule of                                                                              Subtotal
                                                                                                                                                          20,377.00
Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re         Shanteze Kinkle,                                                                                          Case No.      14-12590
                 Bridgette Kinkle
                                                                                                                  ,
                                                                                               Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   (Continuation Sheet)




                                                                        C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                     O                                                                  O   N   I
                   MAILING ADDRESS                                      D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
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                                                                                        DATE CLAIM WAS INCURRED AND                        T   I   P
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                AND ACCOUNT NUMBER                                      T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                        O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                           N   A
                                                                                                                                           T   T
Account No. xxxxxxxxxxxx8581                                                    Opened 7/28/10 Last Active 6/01/14                             E
                                                                                Employment                                                     D

Us Dept Of Ed/Glelsi
Po Box 7860                                                                 W
Madison, WI 53707

                                                                                                                                                                 61,732.00
Account No. xxxxxxxxxxxx8581                                                    Opened 7/28/10 Last Active 6/01/14
                                                                                Employment
Us Dept Of Ed/Glelsi
Po Box 7860                                                                 H
Madison, WI 53707

                                                                                                                                                                 51,970.00
Account No. xxxxxxxxxxxx1577                                                    Opened 8/18/09 Last Active 6/01/14
                                                                                Employment
Us Dept Of Ed/Glelsi
Po Box 7860                                                                 H
Madison, WI 53707

                                                                                                                                                                 14,773.00
Account No. xxxxxxxxxxxx0577                                                    Opened 6/06/08 Last Active 6/01/14
                                                                                Employment
Us Dept Of Ed/Glelsi
Po Box 7860                                                                 W
Madison, WI 53707

                                                                                                                                                                   9,849.00
Account No.




           11 of _____
Sheet no. _____    11 sheets attached to Schedule of                                                                                     Subtotal
                                                                                                                                                               138,324.00
Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                           Total
                                                                                                                 (Report on Summary of Schedules)              348,628.69


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B6G (Official Form 6G) (12/07)


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  In re             Shanteze Kinkle,                                                                            Case No.        14-12590
                    Bridgette Kinkle
                                                                                                      ,
                                                                                    Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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               Case 14-12590-JDW                          Doc 14        Filed 08/27/14 Entered 08/27/14 09:22:36                Desc Main
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B6H (Official Form 6H) (12/07)


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  In re          Shanteze Kinkle,                                                                        Case No.       14-12590
                 Bridgette Kinkle
                                                                                               ,
                                                                                  Debtors
                                                                   SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                        NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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             Case 14-12590-JDW                    Doc 14    Filed 08/27/14 Entered 08/27/14 09:22:36                                 Desc Main
                                                           Document     Page 24 of 45


Fill in this information to identify your case:

Debtor 1                      Shanteze Kinkle

Debtor 2                      Bridgette Kinkle
(Spouse, if filing)


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF MISSISSIPPI

Case number               14-12590                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing post-petition chapter
                                                                                                             13 income as of the following date:

Official Form B 6I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                             12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
                                             Employment status
       attach a separate page with
                                                                      Not employed                                 Not employed
       information about additional
       employers.                            Occupation            Administrator                                Recruiter
       Include part-time, seasonal, or
                                             Employer's name       Thomas Consultants, Inc                      Apelah Specialized Foster Care
       self-employed work.

       Occupation may include student        Employer's address
                                                                   4140 E. Raines Road                          4700 Poplar Avenue
       or homemaker, if it applies.                                Memphis, TN 38118-6940                       Memphis, TN 38117

                                             How long employed there?         4 months                                   5 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $        1,920.00         $         3,029.94

3.     Estimate and list monthly overtime pay.                                             3.     +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $      1,920.00               $   3,029.94




Official Form B 6I                                                      Schedule I: Your Income                                                   page 1
           Case 14-12590-JDW               Doc 14       Filed 08/27/14 Entered 08/27/14 09:22:36                                  Desc Main
                                                       Document     Page 25 of 45

Debtor 1    Shanteze Kinkle
Debtor 2    Bridgette Kinkle                                                                      Case number (if known)    14-12590


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      1,920.00       $         3,029.94

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        213.12       $           513.84
      5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $             0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $             0.00
      5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $             0.00
      5e.    Insurance                                                                     5e.        $          0.00       $           436.20
      5f.    Domestic support obligations                                                  5f.        $          0.00       $             0.00
      5g.    Union dues                                                                    5g.        $          0.00       $             0.00
      5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $             0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            213.12       $           950.04
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          1,706.88       $          2,079.90
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
      8e. Social Security                                                                  8e.        $              0.00   $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              1,706.88 + $       2,079.90 = $            3,786.78
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $           3,786.78
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form B 6I                                                    Schedule I: Your Income                                                         page 2
       Case 14-12590-JDW                      Doc 14         Filed 08/27/14 Entered 08/27/14 09:22:36                                     Desc Main
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Fill in this information to identify your case:

Debtor 1                 Shanteze Kinkle                                                                    Check if this is:
                                                                                                                An amended filing
Debtor 2                 Bridgette Kinkle                                                                       A supplement showing post-petition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF MISSISSIPPI                                           MM / DD / YYYY

Case number           14-12590                                                                                       A separate filing for Debtor 2 because Debtor
(If known)                                                                                                           2 maintains a separate household



Official Form B 6J
Schedule J: Your Expenses                                                                                                            12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age                live with you?

      Do not state the                                                                                                                        No
      dependents' names.                                                           Daughter                             2                     Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 6I.)                                                                                                          Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                825.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                                  0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                                  0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                                  0.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                                  0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                                  0.00




Official Form B 6J                                                   Schedule J: Your Expenses                                                  page 1
      Case 14-12590-JDW                        Doc 14        Filed 08/27/14 Entered 08/27/14 09:22:36                                          Desc Main
                                                            Document     Page 27 of 45

Debtor 1     Shanteze Kinkle
Debtor 2     Bridgette Kinkle                                                                           Case number (if known)       14-12590

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                    365.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                     45.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    400.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   450.00
8.    Childcare and children’s education costs                                                8. $                                                   450.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                   150.00
10.   Personal care products and services                                                   10. $                                                     50.00
11.   Medical and dental expenses                                                           11. $                                                     75.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    350.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                      0.00
14.   Charitable contributions and religious donations                                      14. $                                                     75.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     62.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                    225.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
      17c. Other. Specify:                                                                 17c. $                                                       0.00
      17d. Other. Specify:                                                                 17d. $                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).         18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                       0.00
      20b. Real estate taxes                                                               20b. $                                                       0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21.   Other: Specify:                                                                       21. +$                                                      0.00
22. Your monthly expenses. Add lines 4 through 21.                                                            22.      $                       3,522.00
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               3,786.78
    23b. Copy your monthly expenses from line 22 above.                                                      23b. -$                              3,522.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                  264.78

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
        No.
        Yes.
      Explain:




Official Form B 6J                                                   Schedule J: Your Expenses                                                        page 2
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                                                              United States Bankruptcy Court
                                                                     Northern District of Mississippi
            Shanteze Kinkle
 In re      Bridgette Kinkle                                                                                Case No.   14-12590
                                                                                     Debtor(s)              Chapter    13




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of          27
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date August 27, 2014                                                    Signature   /s/ Shanteze Kinkle
                                                                                     Shanteze Kinkle
                                                                                     Debtor


 Date August 27, 2014                                                    Signature   /s/ Bridgette Kinkle
                                                                                     Bridgette Kinkle
                                                                                     Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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                                                              United States Bankruptcy Court
                                                                     Northern District of Mississippi
             Shanteze Kinkle
 In re       Bridgette Kinkle                                                                                  Case No.       14-12590
                                                                                   Debtor(s)                   Chapter        13

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                  DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $32,039.00                            Income from Federal Tax Return 2013 - Codebtor
                          $17,982.00                            Income from Federal Tax Return 2013 - Debtor

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE




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               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                         DATES OF                                                      AMOUNT STILL
    OF CREDITOR                                                           PAYMENTS                            AMOUNT PAID                 OWING

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                          DATES OF                                  PAID OR
                                                                          PAYMENTS/                               VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                             TRANSFERS                              TRANSFERS                OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                              DATE OF PAYMENT                     AMOUNT PAID                 OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                 STATUS OR
 AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                    DISPOSITION

      None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                        DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE             PROPERTY




  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,      DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN              PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER               ORDER                    PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                 DATE OF GIFT             VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                            DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                      LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                               BY INSURANCE, GIVE PARTICULARS                    DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                            DATE OF PAYMENT,                              AMOUNT OF MONEY
 NAME AND ADDRESS                                                        NAME OF PAYER IF OTHER                       OR DESCRIPTION AND VALUE
     OF PAYEE                                                                  THAN DEBTOR                                    OF PROPERTY
 Boyd Law Office                                                         7/11/2014                                   $310.00 - Filing Fee
 P.O. Box 1586                                                                                                       $30.00 - Credit Counseling
 Greenville, MS 38702                                                                                                $73.00 - Credit Report




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               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                             DATE                            AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                 DATE(S) OF               VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                        TRANSFER(S)              IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                          TYPE OF ACCOUNT, LAST FOUR
                                                                          DIGITS OF ACCOUNT NUMBER,                      AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                            OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                            DATE OF SETOFF                                  AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY                LOCATION OF PROPERTY




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               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                 NAME USED                                     DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                       DOCKET NUMBER                                 STATUS OR DISPOSITION




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               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                               BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN               ADDRESS                     NATURE OF BUSINESS               ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                   ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                DATE ISSUED




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               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                                NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                              RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                       NATURE OF INTEREST                             PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                       TITLE                              OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                          ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                       TITLE                              DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                          DATE AND PURPOSE                               OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                  VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                           TAXPAYER IDENTIFICATION NUMBER (EIN)




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               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                               ******

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date August 27, 2014                                                   Signature   /s/ Shanteze Kinkle
                                                                                    Shanteze Kinkle
                                                                                    Debtor


 Date August 27, 2014                                                   Signature   /s/ Bridgette Kinkle
                                                                                    Bridgette Kinkle
                                                                                    Joint Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                              United States Bankruptcy Court
                                                                     Northern District of Mississippi
             Shanteze Kinkle
 In re       Bridgette Kinkle                                                                                 Case No.      14-12590
                                                                                   Debtor(s)                  Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  3,000.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                  3,000.00

2.     The source of the compensation paid to me was:

                  Debtor                 Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                 Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                            CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      August 27, 2014                                                       /s/ Michael W. Boyd
                                                                                   Michael W. Boyd 4216
                                                                                   Boyd Law Office
                                                                                   P.O. Box 1586
                                                                                   Greenville, MS 38702
                                                                                   662-332-0202 Fax: 662-332-0241
                                                                                   boydlawoffice@yahoo.com




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B 201A (Form 201A) (6/14)



                                                     UNITED STATES BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF MISSISSIPPI
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total Fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$75 administrative fee: Total Fee $310)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total Fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total Fee $275)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                              United States Bankruptcy Court
                                                                     Northern District of Mississippi
            Shanteze Kinkle
 In re      Bridgette Kinkle                                                                                 Case No.       14-12590
                                                                                   Debtor(s)                 Chapter        13

                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                        UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                        Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Shanteze Kinkle
 Bridgette Kinkle                                                                    X /s/ Shanteze Kinkle                        August 27, 2014
 Printed Name(s) of Debtor(s)                                                          Signature of Debtor                        Date

 Case No. (if known) 14-12590                                                        X /s/ Bridgette Kinkle                       August 27, 2014
                                                                                       Signature of Joint Debtor (if any)         Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                              United States Bankruptcy Court
                                                                     Northern District of Mississippi
            Shanteze Kinkle
 In re      Bridgette Kinkle                                                                            Case No.   14-12590
                                                                                    Debtor(s)           Chapter    13




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date:     August 27, 2014                                               /s/ Shanteze Kinkle
                                                                         Shanteze Kinkle
                                                                         Signature of Debtor

 Date:     August 27, 2014                                               /s/ Bridgette Kinkle
                                                                         Bridgette Kinkle
                                                                         Signature of Debtor




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                        1st Financial Bk Usa
                        363 W Anchor Dr
                        Dakota Dunes, SD 57049


                        1stfrankln
                        301 Heritage Drive
                        Oxford, MS 38655


                        1stheritag
                        8985 Highway 51 N
                        Southaven, MS 38671


                        Acs/Bank Of America
                        501 Bleecker St
                        Utica, NY 13501


                        Acs/Loan Science
                        501 Bleecker St
                        Utica, NY 13501


                        Acs/Mheac
                        501 Bleecker St
                        Utica, NY 13501


                        Acs/Mheac
                        C/O Acs 501 Bleeker Street
                        Utica, NY 13501


                        Acs/Nelnet
                        501 Bleecker St
                        Utica, NY 13501


                        Acs/Ubs Rl Est Sec
                        501 Bleecker St
                        Utica, NY 13501


                        Aes/Key Bank Usa Na
                        Po Box 61047
                        Harrisburg, PA 17106


                        Asfs
                        200 Renaissance Ctr
                        Detroit, MI 48243
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                    BillMeLater
                    P.O. Box 2394
                    Omaha, NE 68103


                    Bk Of Amer
                    Po Box 982235
                    El Paso, TX 79998


                    Cach, Llc
                    4340 S Monaco St Unit 2
                    Denver, CO 80237


                    Cap One
                    Po Box 85520
                    Richmond, VA 23285


                    Capital Management Services, LLP
                    698 1/2 South Ogden Street
                    Buffalo, NY 14206-2317


                    Clerk of DeSoto County
                    2535 Hwy 51 South, Room 200
                    Hernando, MS 38632


                    Credit One Bank Na
                    Po Box 98875
                    Las Vegas, NV 89193


                    Discount Cash Advance
                    1020 Goodman Road, Suite 3N
                    Horn Lake, MS 38637


                    GE Money Bank
                    P.O. Box 960061
                    Orlando, FL 32896-0061


                    Grand Canyon University
                    3300 West Camel Back Road
                    Phoenix, AZ 85017


                    Leading Edge Recovery Solutions
                    P.O. Box 129
                    Linden, MI 48451-0129
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                    Mohela
                    633 Spirit Dr
                    Chesterfield, MO 63005


                    Nelson, Watson & Associates, LLC
                    PO Box 1299
                    Haverhill, MA 01831-1799


                    Repub Fin
                    576 East Goodman Rd
                    Southaven, MS 38671


                    Sallie Mae
                    Po Box 9655
                    Wilkes Barre, PA 18773


                    Sallie Mae
                    11100 Usa Pkwy
                    Fishers, IN 46037


                    St. Francis Center for Surgical WL
                    PO Box 741365
                    Atlanta, GA 30374-1365


                    Syncb/Belk
                    Po Box 965028
                    Orlando, FL 32896


                    Syncb/Care Credit
                    Po Box 965036
                    Orlando, FL 32896


                    Syncb/Dillards
                    Po Box 965024
                    Orlando, FL 32896


                    Taylor Law, PLLC
                    PO Box 436709
                    Louisville, KY 40253-6709


                    Univ Of Ms
                    Lyceum Building
                    University, MS 38677
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                    Us Dept Of Ed/Glelsi
                    Po Box 7860
                    Madison, WI 53707
